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                           UNITED STATES DISTRICT COURT
                            DISTRICT OF SOUTH DAKOTA
                                 WESTERN DIVISION

UNITED STATES OF AMERICA                    )            CR. 09-50029-KES-01
                                            )
             Plaintiff,                     )
                                            )             ORDER DENYING
     vs.                                    )           DEFENDANT’S MOTION
                                            )               TO DISMISS
BEN STOCKMAN and                            )            COUNTS I, II, AND III.
JOE BRADLEY,                                )
                                            )
             Defendants.                    )

           The indictment charges defendant Ben Stockman with one count of

conspiracy to distribute a controlled substance, one count of possession with

intent to distribute a controlled substance, and one count of distribution of a

controlled substance. Docket 1. Stockman moves to dismiss all three counts of

the indictment on numerous grounds. Docket 22. The government resists the

motion. Docket 35. After carefully considering the parties’ briefs and the

relevant statutory and case law, the court denies Stockman’s motion.

I.         Count I

           Stockman moves to dismiss the first charge in the indictment on eight

separate grounds: (A) failure to state a crime, (B) duplicitous charging,

(C) violation of Wharton’s Rule, (D) prejudicial surplusage, (E) vagueness,

(F) unknown quantities, (G) venue and jurisdiction, and (H) pre-indictment delay.

The court finds that neither individually nor collectively do these arguments

provide a basis for dismissal.
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      A.     Failure to State a Crime

      Stockman first argues that the case should be dismissed because the

indictment is insufficient. It alleges defendants “did knowingly and intentionally

combine, conspire, confederate and agree with others known and unknown,”

while the statute they are being charged under, 28 U.S.C. § 846, uses only the

word “conspires” to describe the alleged act. An indictment is sufficient where it

“fairly informs the accused of the charges against him and allows him to plead

double jeopardy as a bar to future prosecution.” United States v. Mallen, 843

F.2d 1096, 1102 (8th Cir. 1988). As long as these criteria are met, it does not

matter whether the indictment uses “a particular word or phrase” from the

statute. United States v. White, 241 F.3d 1015, 1021 (8th Cir. 2001). An

indictment is insufficient “only if an ‘essential element “of substance” is

omitted.’ ” Id. (quoting Mallen, 843 F.2d at 1102).

      In White the Eighth Circuit Court of Appeals held that the phrase

“ ‘combined, conspired, confederated, and agreed’ adequately set forth the

charge of conspiracy . . . .” Id. There, the indictment’s sufficiency was not raised

before the trial, so a standard of review more deferential to the government than

the one in the instant case was applied. This court now finds that the phrase

also meets the stricter standard. No essential element of the crime is missing,

and the language provides sufficient notice for Stockman “to prepare his defense




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and to plead double jeopardy to any future prosecution.” Mallen, 843 F.2d at

1103. Therefore, the first count of the indictment sufficiently states a crime.

      B.     Duplicitous Charging

      Stockman next argues that the first count of the indictment should be

dismissed as duplicitous because it charges in one count both the crime of

distribution and that of possession with intent to distribute. Duplicitous

charging must be avoided because a verdict of guilty on a single count will not

reveal whether the jury found the defendant guilty of both crimes or only one of

the two. But, in the instant case, both crimes are violations of 21 U.S.C.

§ 841(a)(1), and “[w]here the statute specifies two or more ways in which one

offense may be committed, all may be alleged in the conjunctive in one count of

the indictment, and proof of any one of the methods will sustain a conviction.”

Gerberding v. United States, 471 F.2d 55, 59 (8th Cir. 1973). Because the

charged offense of conspiracy to violate § 841(a) can be accomplished through

either the act of distribution or possession with intent to distribute, the court

finds that the count is not duplicitous.

      C.     Violation of Wharton’s Rule

      Stockman next argues that the first count of the indictment should be

dismissed because it violates Wharton’s Rule. Wharton’s Rule “operates as a

narrow exception to the general principle that a conspiracy and its underlying

offense do not merge” and applies only “when there is a ‘general congruence of

the [conspiracy] agreement and the completed substantive offense.’ ” United

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States v. Hines, 541 F.3d 833, 838 (8th Cir. 2008) (quoting Iannelli v. United

States, 420 U.S. 770, 781-82 (1975)). The clearest indicator that this

congruence exists is when the number of people involved in the agreement is

equal to the number of people necessary to commit the crime. See United States

v. Jones, 801 F.2d 304, 311 (8th Cir. 1986) (quoting Anderson, Wharton’s

Criminal Law and Procedure § 89 p. 191 (1957)).

        The Eighth Circuit Court of Appeals has held that where the record

indicates that more than two persons were involved in a conspiracy to distribute

drugs, Wharton’s Rule does not apply. Jones, 801 F.2d at 311. Moreover, the

court expressed skepticism that Wharton’s Rule is applicable to 21 U.S.C. § 846

at all by quoting at length a Second Circuit Court of Appeals case that so held.

Even if it does apply to drug conspiracies in the Eighth Circuit, Wharton’s Rule

would only apply to the instant case if the government only produces evidence

that the co-defendants sold to each other and no evidence that they sold to

anyone else. Further, because possession with intent to distribute does not

require two participants for completion of the criminal act, that method of

proving the conspiracy charge would not implicate Wharton’s Rule. Accordingly,

the court finds that the first count of the indictment does not violate Wharton’s

Rule.

        D.    Prejudicial Surplusage

        Stockman next argues that the first charge of the indictment should be

dismissed because it contains language in excess of that found in the statute.

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Specifically he takes issue with the phrases, “combine, . . . confederate and agree

with . . . others,” “a schedule II controlled substance,” and “cocaine, its salts,

optical and geometric isomers and salts of its isomers.” Stockman cites United

States v. Oakar, 111 F.3d 146 (D.C. Cir. 1997), as an example of the rule that

language that is “immaterial, irrelevant, and apt to convey prejudicial and

immaterial material to the jury” should be stricken from the indictment. (Def.’s

Mem. in Supp. of First Mot. to Dismiss, Docket 23 at 4.) The Oakar court,

however, noted that “[m]aterial that can fairly be described as ‘surplus’ may only

be stricken if it is irrelevant and prejudicial,” and reversed a district court’s

decision to strike language because the lower “court made no finding that the

stricken allegations were either irrelevant or prejudicial.” Oakar, 111 F.3d at

157.

       Stockman has not indicated how any of the phrases in the indictment are

irrelevant or prejudicial. In fact, although they were not considering the specific

issue of prejudice, the Eighth Circuit Court of Appeals has held that the words

“combined, conspired, confederated, and agreed” adequately set forth the charge

of conspiracy. See White, 241 F.3d at 1021. The two phrases used to describe

the unlawful substance around which the conspiracy is alleged to have been

organized appear in Congress’s definition at 21 U.S.C. § 812. Accordingly, the

court finds that the language of count I of the indictment is not prejudicial

surplusage.




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      E.     Vagueness

      Stockman next argues that the first count of the indictment should be

dismissed for being too vague. An indictment is sufficient where it “fairly

informs the accused of the charges against him and allows him to plead double

jeopardy as a bar to future prosecution.” Mallen, 843 F.2d at 1102. Here the

first count of the indictment is specific enough to fulfill both criteria.

      F.     Unknown Quantities

      Stockman next argues that the first count of the indictment should be

dismissed because it does not allege the quantity of unlawful substances

involved in the charged conspiracy. He relies on Apprendi v. New Jersey, 530

U.S. 466 (2000), for the proposition that “[e]very fact, including quantities, that

increases a penalty must be set forth in the indictment, submitted to the jury,

and found beyond a reasonable doubt.” (Mem. Mot. to Dismiss, 5.) Apprendi

actually requires that “[o]ther than the fact of a prior conviction, any fact that

increases the penalty for a crime beyond the prescribed statutory maximum must

be submitted to a jury, and proved beyond a reasonable doubt.” Apprendi, 530

U.S. at 490 (emphasis added); see United States v. Carpenter, 487 F.3d 623, 625

(8th Cir. 2007) (holding that where the defendant was sentenced within the

statutory maximum based on facts admitted in a plea agreement, Apprendi was

not implicated). In the instant case, 21 U.S.C. § 841(b)(1)(C) contains the

maximum penalty where a specific quantity of cocaine is not alleged. The

quantity of cocaine involved will not increase the penalty beyond the statutory

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maximum, so the court finds that the government is not required to allege a

specific quantity of the drug.

      G.     Venue and Jurisdiction

      Stockman next argues that the first count of the indictment should be

dismissed because it improperly alleges venue and jurisdiction. The indictment

alleges that the conspiracy was committed in South Dakota “and elsewhere,” and

Stockman argues that the latter phrase implicates crimes over which the court

has no jurisdiction. But “any offense against the United States begun in one

district and completed in another, or committed in more than one district, may

be inquired of and prosecuted in any district in which such offense was begun,

continued, or completed.” 18 U.S.C. § 3237(a). Accordingly, the court has

jurisdiction over any crimes Stockman is alleged to have committed at least

partially in the District of South Dakota.

      H.     Pre-Indictment Delay

      Stockman next argues that the first count of the indictment should be

dismissed for prejudice resulting from the government’s delay in indictment. In

order to obtain dismissal on this basis, Stockman must show that the

government’s delay in indicting him actually and substantially prejudiced the

defense. See United States v. Sprouts, 282 F.3d 1037, 1041 (8th Cir. 2002);

United States v. McDougal, 133 F.3d 1110, 1113 (8th Cir. 1998). “To prove

actual prejudice the defendant must identify witnesses or documents lost during

the period of delay, and not merely make speculative or conclusory claims of

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possible prejudice caused by the passage of time.” Sprouts, 282 F.3d at 1041

(citing United States v. Sturdy, 207 F.3d 448, 451-52 (8th Cir. 2000)). Stockman

does not indicate any specific prejudice in his memorandum. The court finds

that he has not met his burden of showing that pre-indictment delay violated his

Fifth Amendment due process right.

II.   Counts II and III

      Stockman finally moves to dismiss counts II and III because they contain

surplus language, because they do not name quantities of the illegal substance,

and because they are multiplicitous. The phrases “Schedule II” and “its salts,

optical and geometric isomers, or salts of its isomers” are both contained in a

congressional statute defining the substance in question, and Stockman did not

indicate how they prejudice his case. See 21 U.S.C. § 812. The government is

not required to allege a quantity of illegal substances because there is a

statutory maximum in the code for violations of 21 U.S.C. § 841(a)(1) where the

amount of drugs is not alleged. See 21 U.S.C. § 841(b)(1)(C).

      Neither are the counts multiplicitous, which would be an error in pleading

that can subject defendants to multiple sentences for a single crime. The Eighth

Circuit Court of Appeals has ruled that “a defendant can be charged with

multiple offenses under” 21 U.S.C. § 841(a)(1). United States v. Mendoza, 902

F.2d 693, 696 (8th Cir. 1990) (citing United States v. Palafox, 764 F.2d 558 (9th

Cir. 1985) (emphasis in original)). Whether separate criminal acts support

cumulative sentencing is a question of fact. Mendoza, 902 F.2d at 698.

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Accordingly, the counts will not be dismissed for surplus language, unnamed

quantities, or multiplicity.

      Based on the foregoing discussion, the court finds Stockman has not

presented a valid argument for dismissing counts, I, II, or III of the indictment.

Accordingly, it is hereby

      ORDERED that Stockman’s motion to dismiss counts I, II and III (Docket

22) is denied.

      Dated August 20, 2009.

                                BY THE COURT:


                                /s/ Karen E. Schreier
                                KAREN E. SCHREIER
                                CHIEF JUDGE




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